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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                       Filed: April 30, 2019

* * * * * * * * * * * * *  *
DANIEL SILVER,             *                                    UNPUBLISHED
                           *
         Petitioner,       *                                    No. 17-1204V
                           *                                    Special Master Gowen
v.                         *
                           *                                    Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Shealene P. Mancuso, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Heather L. Pearlman, United States Department of Justice, Washington, DC, for Respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

       On January 30, 2019, Daniel Silver (“Petitioner”) filed a motion for attorneys’ fees and
costs. Petitioner’s Motion for Attorney Fees (“Fees App.”) (ECF No. 34). For the reasons
discussed below, the undersigned GRANTS Petitioner’s motion for attorneys’ fees and costs and
awards a total of $14,417.15.

    I.        Procedural History

      On September 6, 2017, Petitioner filed a petition in the National Vaccine Injury
Compensation Program.2 Petitioner alleged that an influenza vaccination he received on October
22, 2014, caused him to suffer from Chronic Inflammatory Demyelinating Polyneuropathy
(“CIDP”). On November 15, 2018, the parties filed a stipulation, which I adopted as my Decision

1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims' website. This means the
ruling will be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner
has 14 days to identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits within this
definition, the undersigned will redact such material from public access. Because this unpublished ruling contains a
reasoned explanation for the action in this case, the undersigned is required to post it on the United States Court of
Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine
Act” or “the Act”). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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awarding damages on the same day. Decision, ECF No. 30.

         On January 30, 2019, Petitioner filed a motion for attorneys’ fees and costs. Petitioner
requests compensation for his attorney, Ms. Shealene Mancuso, in the total amount of $15,199.25,
representing $14,303.60 in attorneys’ fees and $895.65 in costs. Fees App. at 2. Pursuant to
General Order No. 9, Petitioner warrants that he not personally incurred any costs in pursuit of this
litigation. Id. Respondent reacted to the fees motion on February 5, 2019, indicating that
“Respondent is satisfied the statutory requirements for an award of attorneys’ fees and costs are
met in this case” and recommending that “the special master exercise his discretion and determine
a reasonable award for attorneys’ fees and costs.” Response at 2-3 (ECF No. 56). Petitioner did
not file a reply. The matter is now ripe for adjudication.

   II.     Analysis

        Under the Vaccine Act, the special master may award reasonable attorneys' fees and costs
for a petition that does not result in an award of compensation, but was filed in good faith and
supported by a reasonable basis. § 300aa–15(e)(1). In this case, Petitioner was awarded
compensation pursuant to a stipulation, and therefore he is entitled to an award of reasonable
attorneys’ fees and costs.

         Petitioners “bea[r] the burden of establishing the hours expended, the rates charged, and
the expenses incurred” are reasonable. Wasson v. Sec'y of Health & Human Servs., 24 Cl. Ct. 482,
484 (1993). Adequate proof of the claimed fees and costs should be presented when the motion is
filed. Id. at 484 n. 1. The special master has the discretion to reduce awards sua sponte, independent
of enumerated objections from the respondent. Sabella v. Sec'y of Health & Human Servs., 86 Fed.
Cl. 201, 208–09 (Fed. Cl. 2009); Savin v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313 (Fed.
Cl. 2008), aff'd No. 99–537V, 2008 WL 2066611 (Fed. Cl. Spec. Mstr. Apr. 22, 2008).

               a. Attorneys’ Fees

       Petitioner requests the following rates of compensation for his attorneys: for Ms. Shealene
Mancuso, $225.00 per hour for work performed in 2017 and $250.00 per hour for work performed
in 2018, and $275.00 per hour for work performed in 2019; for Mr. Maximillian Muller, $300.00
per hour for work performed in 2017; and for Mr. Paul Brazil, $317.00 per hour for work
performed in 2018. Fees App. at 1. Petitioner also requests $125.00 - $150.00 per hour for all
paralegal work performed.

        The rates requested for Mr. Muller and Mr. Brazil are consistent with what counsel have
requested and been awarded in previous Vaccine Program cases by the undersigned and other
special masters. See e.g., Curry v. Sec’y of Health & Human Servs., No. 16-68V, 2018 WL
3991228, at *1 (Fed. Cl. Spec. Mstr. Jul. 10, 2018); Lee v. Sec’y of Health & Human Servs., No.
15-823V, 2018 WL 4403970, at *1 (Fed. Cl. Spec. Mstr. Aug. 22, 2018). However, Ms.
Mancuso’s requested rates require an adjustment. Other special masters have previously
compensated Ms. Mancuso at $233.00 per hour for work performed in 2018 and $250.00 per hour
for work performed in 2019. See Prestia v. Sec’y of Health & Human Servs., No. 17-13V, slip op.
at 3-4 (Fed. Cl. Spec. Mstr. Apr. 25, 2018); Hyatt v. Sec’y of Health & Human Servs., No. 17-


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650V, 2018 WL 4611618, at *1 (Fed. Cl. Spec. Mstr. Jun. 22, 2018); Martin v. Sec’y of Health &
Human Servs., No. 17-619V, slip op. at 3-4 (Fed. Cl. Spec. Mstr. Mar. 6, 2019). I agree with the
reasoning set forth in establishing Ms. Mancuso’s 2018 and 2019 rates and I will also compensate
her work in those years at $233.00 and $250.00, respectively. Additionally, $150.00 per hour for
paralegal work in 2018 exceeds what Muller Brazil LLP paralegals have been awarded previously,
and I will compensate that work at $125.00 per hour. Accordingly, this results in a total reduction
from attorneys’ fees in the amount of $587.10.

        Upon review of the submitted billing statement, I find the overall hours spent on this matter
appear to be largely reasonable, with only a minor reduction to paralegal time billed necessary.
The billing records reflect several instances in which paralegals overbilled for filing documents,
for reviewing CMECF generated notices of filings just made by petitioner, and for
clerical/administrative tasks such as preparing exhibits. Accordingly, I will reduce the amount
billed by paralegals by 10%, resulting in a reduction of $195.00.3

                    b. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of costs must be reasonable. Perreira v.
Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests total
attorneys’ costs in the amount of $895.65, comprising of the cost of acquiring medical records and
the Court’s filing fee. Fees App. at 15. Petitioner has provided adequate documentation supporting
all these costs, and they shall be reimbursed in full.

       III.      Conclusion

       In accordance with the foregoing, Petitioner’s motion for attorneys’ fees and costs is
GRANTED. I find that Petitioner is entitled to a reimbursement of attorneys’ fees and costs as
follows:

    Attorneys’ Fees Requested                                                      $14,303.60
    (Reduction of Fees)                                                            - ($782.10)
    Total Attorneys’ Fees Awarded                                                  $13,521.50

    Attorneys’ Costs Requested                                                      $895.65
    (Reduction of Costs)                                                               -
    Total Attorneys’ Costs Awarded                                                  $895.65

    Total Attorneys’ Fees and Costs                                                $14,417.15

              Accordingly, I award the following:




3
    ($1,970.00 billed by paralegals - $20.00 in rate reduction) * 0.1 = $195.00.

                                                             3
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    1) A lump sum in the amount of $14,417.15, representing reimbursement for petitioner’s
       attorneys’ fees and costs, in the form of a check payable to petitioner and his attorney,
       Ms. Shealene Mancuso.4

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.5

         IT IS SO ORDERED.


                                                      /s/Thomas L. Gowen
                                                      Thomas L. Gowen
                                                      Special Master




4
  This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all charges by
the attorney against a client, “advanced costs,” and fees for legal services rendered. Furthermore, Section 15(e)(3)
prevents an attorney from charging or collecting fees (including costs) that would be in addition to the amount awarded
herein. See generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
5
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. Vaccine
Rule 11(a).

                                                          4
